                    Case 2:11-cr-00075-MCE Document 53 Filed 08/27/12 Page 1 of 2


 1   CLEMENTE M. JIMÉNEZ, SBN 207136
     428 J Street, Suite 355
 2
     Sacramento, CA 95814
 3   (916) 443-8055
 4   Attorney for Defendant
 5   LAZARO ANDRADE-BAUTISTA
 6                              IN THE UNITED STATES DISTRICT COURT
 7
                             FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9
     UNITED STATES OF AMERICA,                       Case No.: 2:11-cr-00075 MCE
10
                         Plaintiff,                  STIPULATION AND ORDER
11
                                                     VACATING DATE, CONTINUING
12             v.                                    CASE, AND EXCLUDING TIME
13   LAZARO ANDRADE-BAUTISTA, et al.,                DATE: August 23, 2012
14                                                   TIME: 9:00 a.m.
                                                     JUDGE: Hon. Morrison C. England, Jr.
15                       Defendants.
16
17   IT IS HEREBY STIPULATED by and between Assistant United States Attorney Samuel
18   Wong, Counsel for Plaintiff, and attorneys Gilbert Roque, Counsel for SALVADOR
19   JAMAICA-ARELLANO; Douglas Beevers, Counsel for CRESCENCIO DELGADO-
20   EZQUIVEL; and Clemente M. Jiménez, Counsel for LAZARO ANDRADE-
21   BAUTISTA, that the status conference scheduled for August 23, 2012, at 9:00 a.m., be
22   vacated and the matter continued to this Court’s criminal calendar on September 20,
23   2012, at 9:00 a.m., for further status conference. The parties had previously agreed to
24   obtain pre-plea reports as to each defendant. US Probation has only recently completed
25   the reports. Counsel will require time to review the reports with their respective clients.
26             IT IS FURTHER STIPULATED that time for trial under the Speedy Trial Act, 18
27   U.S.C. Section 3161 et seq. be tolled pursuant to Section 3161(h)(7)(A) and (B)(iv),
28   (Local code T-4), and that the ends of justice served in granting the continuance and



     11cr00075.so.0827.doc                   -1-
     08/27/12
                  Case 2:11-cr-00075-MCE Document 53 Filed 08/27/12 Page 2 of 2


 1   allowing the defendants further time to prepare outweigh the best interests of the public
 2   and the defendant to a speedy trial.
 3
 4   DATED:              August 22, 2012         /S/   Samuel Wong____________________
                                                 SAMUEL WONG
 5
                                                 Attorney for Plaintiff
 6
                                                 /S/   Gilbert Roque____________________
 7                                               GILBERT ROQUE
 8                                               Attorney for Salvador Jamaica-Arelano
 9                                               /S/   Douglas Beevers_________________
10                                               DOUGLAS BEEVERS
                                                 Attorney for Crescencio Delgado-Ezquivel
11
12                                               /S/   Clemente M. Jiménez_____________
                                                 CLEMENTE M. JIMÉNEZ
13                                               Attorney for Lazaro Andrade-Bautista
14
15                                              ORDER
16
               The evidentiary hearing in the above-entitled matter, scheduled for August 23,
17
     2012, at 9:00 a.m., is vacated and the matter continued to September 20, 2012, at 9:00
18
     a.m., for further status conference. The Court finds that time under the Speedy Trial Act
19
     shall be excluded through that date in order to afford US Probation time to complete pre-
20
     sentence reports and counsel reasonable time to prepare. Based on the parties’
21
     representations, the Court finds that the ends of justice served by granting a continuance
22
     outweigh the best interests of the public and the defendants to a speedy trial.
23
               IT IS SO ORDERED.
24
     Dated: August 27, 2012
25
26
                                           _______________________________________
27                                         MORRISON C. ENGLAND, JR.
                                           UNITED STATES DISTRICT JUDGE
28



     11cr00075.so.0827.doc                     -2-
     08/27/12
